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12                          UNITED STATES DISTRICT COURT

13                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

14   UNITED STATES OF AMERICA,              No. CR 20-35-JFW

15             Plaintiff,                   STIPULATION AND JOINT REQUEST FOR
                                            A PROTECTIVE ORDER REGARDING
16             v.                           DISCOVERY CONTAINING PERSONAL
                                            IDENTIFYING INFORMATION AND
17 MITCHELL ENGLANDER,                      COOPERATING WITNESS INFORMATION

18             Defendant.                   PROPOSED ORDER FILED SEPARATELY

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21        Plaintiff, United States of America, by and through its counsel

22   of record, the United States Attorney for the Central District of

23   California and Assistant United States Attorney MACK E. JENKINS,

24   VERONICA DRAGALIN, and MELISSA MILLS, and defendant MITCHELL

25   ENGLANDER (“defendant”), by and through his counsel of record, JANET

26   LEVINE (collectively the “parties”), for the reasons set forth

27   below, request that the Court enter the proposed protective order

28   (the “Protective Order”) governing the use and dissemination of
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 1   (1) personal identifying information (“PII”) of real persons

 2   pursuant to Federal Rule of Criminal Procedure Rule 16(d)(1), and

 3   (2) information related to confidential informants and/or

 4   cooperating witnesses who may testify at trial.

 5        Introduction and Grounds for Protective Order

 6        1.    Defendant is charged in this matter with one count of

 7   falsifying material facts, in violation of 18 U.S.C. § 1001(a)(1),

 8   three counts of false statements, in violation of 18 U.S.C.

 9   § 1001(a)(2), and three counts of obstruction of justice, in

10   violation of 18 U.S.C. § 1512(b)(3).       Defendant is released on bond

11   pending trial.

12        2.    A protective order is necessary because the government

13   intends to produce to the defense materials regarding confidential

14   informants or cooperating witnesses who participated in the

15   government’s investigation and who may testify at trial.           Because

16   these materials could be used to identify the confidential

17   informants or cooperating witnesses, the government believes that

18   the unauthorized dissemination or distribution of the materials may

19   compromise the ability of such persons to participate effectively in

20   future investigations in an undercover capacity and/or may expose

21   him/her and their families to potential safety risks.

22        3.    A protective order is also necessary because the

23   government intends to produce to the defense materials containing

24   third parties’ PII.    The government believes that disclosure of this

25   information without limitation risks the privacy and security of the

26   information’s legitimate owners.       Because the government has an

27   ongoing obligation to protect third parties’ PII, the government

28   cannot produce to defendant an unredacted set of discovery

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 1   containing this information without the Court entering the

 2   Protective Order.    Moreover, PII makes up a significant part of the

 3   discovery in this case and such information itself, in many

 4   instances, has evidentiary value.          If the government were to attempt

 5   to redact all this information in strict compliance with Federal

 6   Rule of Criminal Procedure 49.1, the Central District of

 7   California’s Local Rules regarding redaction, and the Privacy Policy

 8   of the United States Judicial Conference, the defense would receive

 9   a set of discovery that would be highly confusing and difficult to

10   understand, and it would be challenging for defense counsel to

11   adequately evaluate the case, provide advice to defendant, or

12   prepare for trial.

13        4.    The purpose of the Protective Order is to (a) allow the

14   government to comply with its discovery obligations while protecting

15   this sensitive information from unauthorized dissemination, and

16   (b) provide the defense with sufficient information to adequately

17   represent the defendant.

18        Definitions

19        5.    The parties agree to the following definitions:

20              a.   “CI Materials” includes any information relating to a

21   confidential informant’s or cooperating witness’s prior history of

22   cooperation with law enforcement, prior criminal history,

23   statements, or any other information that could be used to identify

24   a confidential informant or cooperating witness, such as a name,

25   image, address, date of birth, or unique personal identification

26   number, such as a Social Security number, driver’s license number,

27   account number, or telephone number.

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 1              b.    “PII Materials” includes any information that can be

 2   used to identify a person, including a name, address, date of birth,

 3   Social Security number, driver’s license number, telephone number,

 4   account number, email address, or personal identification number.

 5              c.    “Confidential Information” refers to any document or

 6   information containing CI Materials or PII Materials that the

 7   government produces to the defense pursuant to this Protective Order

 8   and any copies thereof.

 9              d.    “Defense Team” includes (1) defendant’s counsel of

10   record (“defense counsel”); (2) other attorneys at defense counsel’s

11   law firm who may be consulted regarding case strategy in this case;

12   (3) defense investigators who are assisting defense counsel with

13   this case; (4) retained experts or potential experts; and

14   (5) paralegals, legal assistants, and other support staff to defense

15   counsel who are providing assistance on this case.          The Defense Team

16   does not include defendant, defendant’s family members, or any other

17   associates of defendant.

18        Terms of the Protective Order

19        6.    The parties jointly request the Court enter the Protective

20   Order, which will permit the government to produce Confidential

21   Information in a manner that preserves the privacy and security of

22   third parties.    The parties agree that the following conditions in

23   the Protective Order will serve these interests:

24              a.    The government is authorized to provide defense

25   counsel with Confidential Information marked with the following

26   legend: “SUBJECT TO PROTECTIVE ORDER.”        The government may put that

27   legend on the digital medium (such as DVD or hard drive) or simply

28   label a digital folder on the digital medium to cover the content of

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 1   that digital folder.     The government may also redact any PII

 2   contained in the production of Confidential Information.

 3              b.     If defendant objects to a designation that material

 4   contains Confidential Information, the parties shall meet and

 5   confer.   If the parties cannot reach an agreement regarding the

 6   defendant’s objection, the defendant may apply to the Court to have

 7   the designation removed.

 8              c.     Defendant and the Defense Team agree to use the

 9   Confidential Information solely to prepare for any pretrial motions,

10   plea negotiations, trial, sentencing hearing, and appellate and

11   post-conviction proceedings.

12              d.     The Defense Team shall not permit anyone other than

13   the Defense Team to have possession of Confidential Information,

14   including defendant, while outside the presence of the Defense Team.

15   Defendant may see and review Confidential Information only in the

16   presence of the Defense Team, and the Defense Team shall ensure that

17   defendant is never left alone with any Confidential Information.             At

18   the conclusion of any meeting with defendant at which defendant is

19   permitted to view Confidential Information, defendant must return

20   any Confidential Information to the Defense Team, who shall take all

21   such materials with counsel.      Defendant may not take any

22   Confidential Information out of the room in which defendant is

23   meeting with the Defense Team.      At no time, under no circumstance,

24   will any Confidential Information be left in the possession,

25   custody, or control of defendant, regardless of the defendant’s

26   custody status.

27              e.     Defendant may see and review Confidential Information

28   as permitted by this Protective Order, but defendant may not copy,

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 1   keep, maintain, or otherwise possess any Confidential Information in

 2   this case at any time.     Defendant also may not write down or

 3   memorialize any data or information contained in the Confidential

 4   Information.

 5                f.   The Defense Team may review Confidential Information

 6   with a witness or potential witness in this case, including

 7   defendant.    A member of the Defense Team must be present if

 8   Confidential Information is being shown to a witness or potential

 9   witness.   Before being shown any portion of Confidential

10   Information, however, any witness or potential witness must be

11   informed of, and agree in writing to be bound by, the requirements

12   of the Protective Order.     No member of the Defense Team shall permit

13   a witness or potential witness to retain Confidential Information or

14   any notes generated from Confidential Information.

15                g.   The Defense Team shall maintain Confidential

16   Information safely and securely, and shall exercise reasonable care

17   in ensuring the confidentiality of those materials by (1) not

18   permitting anyone other than members of the Defense Team, defendant,

19   witnesses, and potential witnesses, as restricted above, to see

20   Confidential Information; (2) not divulging to anyone other than

21   members of the Defense Team, defendant, witnesses, and potential

22   witnesses, the contents of Confidential Information; and (3) not

23   permitting Confidential Information to be outside the Defense Team’s

24   offices, homes, vehicles, or personal presence.         PII Materials and

25   CI Materials shall not be left unattended in any vehicle.

26                h.   To the extent that defendant, the Defense Team,

27   witnesses, or potential witnesses create notes that contain, in

28   whole or in part, Confidential Information, or to the extent that

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 1   copies are made for authorized use by members of the Defense Team,

 2   such notes, copies, or reproductions become Confidential Information

 3   subject to the Protective Order and must be handled in accordance

 4   with the terms of the Protective Order.

 5              i.   The Defense Team shall use Confidential Information

 6   only for the litigation of this matter and for no other purpose.

 7   Litigation of this matter includes any appeal filed by defendant and

 8   any motion filed by defendant pursuant to 28 U.S.C. § 2255.            In the

 9   event that a party needs to file Confidential Information with the

10   Court or divulge the contents of Confidential Information in court

11   filings, the filing should be made under seal.         If the Court rejects

12   the request to file such information under seal, the party seeking

13   to file such information publicly shall provide advance written

14   notice to the other party to afford such party an opportunity to

15   object or otherwise respond to such intention.         If the other party

16   does not object to the proposed filing, the party seeking to file

17   such information shall redact any CI Materials or PII Materials and

18   make all reasonable attempts to limit the divulging of CI Materials

19   or PII Materials.

20              j.   The parties agree that any Confidential Information

21   inadvertently produced in the course of discovery prior to entry of

22   the Protective Order shall be subject to the terms of the Protective

23   Order.   If Confidential Information was inadvertently produced prior

24   to entry of the Protective Order without being marked “SUBJECT TO

25   PROTECTIVE ORDER,” the government shall reproduce the material with

26   the correct designation and notify defense counsel of the error.

27   The Defense Team shall take immediate steps to destroy the unmarked

28   material, including any copies.

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 1              k.   Upon the final disposition of this case, Confidential

 2   Information shall not be used by the Defense Team, in any way, in

 3   any other matter, absent a court order.        All materials designated

 4   subject to the Protective Order maintained in the Defense Team’s

 5   files shall remain subject to the Protective Order unless and until

 6   such order is modified by court order.        Upon request by the

 7   government, within 30 days of the conclusion of appellate and post-

 8   conviction proceedings, defense counsel shall return all

 9   Confidential Information, or certify that such materials are being

10   kept pursuant to the Business and Professions Code and the Rules of

11   Professional Conduct.

12              l.   In the event that there is a substitution of counsel

13   prior to when such documents must be returned, new defense counsel

14   must be informed of, and agree in writing to be bound by, the

15   requirements of the Protective Order before the undersigned defense

16   counsel transfers any Confidential Information to the new defense

17   counsel.   New defense counsel’s written agreement to be bound by the

18   terms of the Protective Order must be returned to the Assistant U.S.

19   Attorney assigned to the case.      New defense counsel then will become

20   the Defense Team’s custodian of materials designated subject to the

21   Protective Order and shall then become responsible, upon the

22   conclusion of appellate and post-conviction proceedings, for

23   returning to the government, certifying the destruction of, or

24   retaining pursuant to the California Business and Professions Code

25   and the California Rules of Professional Conduct all Confidential

26   Information.

27              m.   Defense counsel agrees to advise defendant and all

28   members of the Defense Team of their obligations under the

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